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                                 EXHIBIT S
      Case 2:18-cv-03549-GRB-ST Document 39-19 Filed 03/01/19 Page 2 of 4 PageID #: 615
Sent:       Wed, 21 May 2014 12:38:48 -0400
Subject:    Fwd: News Release: Town of Islip Disrespects Brentwood Residents at Meeting on Toxic Dumping in Local Park
From:       Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:         Will James <will.james@newsday.com>

Hey Will,
Take a look below at our release.

One of the original story links is here.

Daniel

         Forwarded message         -
From: Javier H. Valdes, MRNY <list@maketheroadnv.org>
Date: Wed, May 21, 2014 at 11:56 AM
Subject: News Release: Town of Islip Disrespects Brentwood Residents at Meeting on Toxic Dumping in Local Park
To: todos(g),maketheroadny.org

                   View in your browser here.




                                           NEWS RELEASE FROM
                                           Make the Road New York
                                           FOR IMMEDIATE RELEASE:

                                           Contact:
                                           Daniel Altschuler (English & Spanish):
                                           daniel.altschuler@niaketheroadnv.orq, 917-494-5922
                                           Lucas Sanchez (English & Spanish):
                                           lsanchez(a)nycommunities.orq, 646-600-2426
                                           Rev. Roderick Pearson, NAACP: 631-348-4782




                         Town of Islip Disrespects Brentwood Residents at
                             Meeting on Toxic Dumping in Local Park
                     Town Officials Refuse to Let Residents Voice Their Concerns, Fail to Provide
                                              Competent     Interpretation




                    BRENTWOOD, NY (5/21/2014) - Last night, Town of Islip officials infuriated Brentwood
                    residents by holding a public meeting, focused on the dumping of 32,000 tons of
                    asbestos-ridden waste at Roberte Clemente Park, at which residents' voices were
                    silenced and no competent language assistance services were offered to limited-English
                    proficient residents. At the meeting at Brentwood Recreation Center, Deputy
                    Supervisor Eric Hofmeister, Councilman and Town Parks liaison Anthony Senft, and
                    other town officials refused to take responsibility for the dumping in Clemente Park and
                    other nearby sites, and did not allow residents to ask their questions directly. Many
                    residents responded with anger at having their voices silenced before walking out in
                    frustration.

                    Furthermore, a group from Make the Road New York denounced the Town for asking
                    limited-English residents to go to the back of the room to speak with an "interpreter"
                    who was not a competent interpreter (she admitted she had primarily been asked to
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        attend to hand out materials). This represented a clear violation of Title VI of the Civil
        Rights Act, which requires government entities receiving federal funding to provide
        competent language assistance services to limited-English residents.

        County Legislator Monica R. Martinez, Make the Road New York, New York
        Communities for Change, the Islip Branch of the NAACP issued the following comments
        regarding the disgraceful public meeting held by the Town of Islip:

        Suffolk County Legislator Monica R. Martinez, who represents the district in which
        the dumping occurred, stated, "As elected officials we swore an oath to serve and
        protect our constituents. As a public servant, I am appalled by the disrespectful and
        condescending conduct by the Town of Islip towards the residents of Brentwood and
        Central Islip last night. The town officials did not even allow me, the County Legislator
        of the district, to speak-let alone our residents. As Councilman Senft acknowledged on
        a local public radio program, the Town has neglected the hamlets of Brentwood and
        Central Islip. We demand to be heard, we have been ignored for too long."

        Miriam Elaraby, a member of Make the Road New York, said, "They couldn't even
        resolve a simple issue like the need to competently interpret for Spanish-speaking
        residents at a single community meeting. That was something simple, and they swept
        their failure under the rug. It was both a sign of incompetence and disrespect to the
        community's needs, and it makes me question whether they can and will take the
        necessary actions to address the toxic dumping crisis."

        Nelsena Day, a member of New York Communities for Change, said, "We are not
        going to stand to be disrespected by anybody. That includes all of the people at the
        Town of Islip Board. They must answer all of the questions coming from the community
        in every language in our community and give us a detailed plan for how our children
        will have a place to play this summer."

        Reverend Roderick Pearson, President of the Islip Town NAACP, said, "The
        effort by the Town of Islip this evening was insufficient -- so much so that there was an
        attempt to limit the public from verbalizing all of their concerns. There seems to be an
        accountability and management deficiency in that the Parks Commissioner is the only
        one being held responsible. And the lack of language assistance services -- so that the
        entire community, particularly the Hispanic community, could understand and
        participate in the meeting -- was an affront to us all."


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              Make the Road New York (MRNY) builds the power of Latino and working class communities to achieve dignity and

              members and operaTe four community centers in Bushwick, Brooklyn: Jackson Heights, Queens: Midland Beach and


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